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Q? DoDots

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DoDots Named “Investors’ Choice” Winner at Technologic
Partners’ Internet Outlook Conference in Burlingame, California

SUNNYVALE, California — September 20, 2000 — DoDots, Inc., a digital infrastructure company, has been named
one of those “most likely to succeed” at Internet Outlook 2000, a conference where key industry executives and
investors rate company prospects for success. Among those attending were venture capitalists, money managers,
investment bankers, and industry executives from leading e-commerce companies like MP3.com, Screaming Media,

Lycos, Travelocity, Modem Media, and Vignette.

“As a recipient of the Investors’ Choice award, DoDots was recognized above and beyond other presenting
companies to receive one of 10 Investors’ Choice awards. We believe DoDots exemplifies the key characteristics
needed to succeed in this competitive market environment and are looking forward to seeing its positive growth in
the coming year,” said Richard A. Shaffer, founder of Technologic Partners. Votes by the audience were
supplemented by recommendations from a panel of distinguished technology investors and observers including
Stewart Alsop, general partner at New Enterprise Associates; Alex Baluta, principal at Robertson Stephens; and

Steve Jurvetson, managing director at Draper Fisher Jurvetson.

“We are honored to have been selected by the Internet Outlook audience and the esteemed technology investor panel
to receive the Investors' Choice Award," said George Kembel, CEO of DoDots. "This validation of our business is
strongly supported by the results our technology is delivering to customers who are extending their businesses

online.”

Issues discussed at the conference included what it will take to get the next wave of consumers online, whether
privacy issues could stymie effective marketing tactics, and whether technology can make a difference for the

customer experience.

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